Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 1 of 14




                                          Take the journey off-road. Join Scouts BSA
                                             and set your own course for adventure.
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                           13
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 2 of 14




                           14
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 3 of 14




                                       New adventures are just beyond the
                                        horizon. Join Scouts BSA and push
                                        the boundaries of what is possible.

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                           15
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 4 of 14




                           16
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 5 of 14




                                                     When it comes to adventure, you
                                                   just have to get your feet wet. Join
                                                  Scouts BSA and learn the skills you
                                                     need to make waves in the world.
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                           17
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 6 of 14




                           18
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 7 of 14




                                              Gain the confidence to blaze your own
                                               trail. Join Scouts BSA and develop the
                                           skills you need to Be Prepared. For Life.™
                                                      and anything it throws your way.
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                           19
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 8 of 14




                           20
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 9 of 14




                           21
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20                          Page 10 of 14




                                       2019 Printing Rev 02/19
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                            22
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 11 of 14




                            23
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20     Page 12 of 14




                                       At the extremes is where you discover
                                    your potential. Join Scouts BSA and learn
                                  the skills that allow you to reach your peak,
                                        for yourself and the world around you.

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                            24
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20   Page 13 of 14




                            25
Case 20-10343-LSS   Doc 389-14   Filed 04/10/20     Page 14 of 14




                                       At the extremes is where you discover
                                    your potential. Join Scouts BSA and learn
                                  the skills that allow you to reach your peak,
                                        for yourself and the world around you.

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                            26
